                                                                       Case 2:20-cv-00284-JCM-VCF Document 34
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                                                                   6   Fax: (702) 938-1048

                                                                   7   Attorneys for Defendants
                                                                              Royce Plowman and Madison Smith
                                                                   8
                                                                                                 UNITED STATES DISTRICT COURT
                                                                   9
                                                                                                        DISTRICT OF NEVADA
                                                                  10
                                                                       EDWARD KELLER, JR., individually,                Case No. 2:20-cv-00284-JCM-VCF
                                                                  11
                                                                                                   Plaintiff,
3960 Howard Hughes Parkway, Suite 600




                                                                  12                                                            STIPULATION AND ORDER TO
                                                                       vs.                                                     DISMISS CASE WITH PREJUDICE
                                        Las Vegas, Nevada 89169




                                                                  13
                                                                       ROYCE PLOWMAN, individually, MADISON
                                                                  14   SMITH, individually; DOES I through X,
                                                                       inclusive; ROE CORPORATIONS XI through
                                                                  15   XX, inclusive,

                                                                  16                               Defendants.

                                                                  17

                                                                  18          IT IS HEREBY STIPULATED AND AGREED, between Plaintiff Edward Keller, Jr.,

                                                                  19   individually through his attorneys of record, Justin W. Wilson, Esq., of J HICKS & BRASIER,

                                                                  20   and Defendants Royce Plowman and Madison Smith through their attorneys of record Thomas E.

                                                                  21   McGrath, Esq. and Christopher A. Lund, Esq. of the law firm of TYSON & MENDES, LLP, that

                                                                  22   that the Complaint filed by Plaintiff, and each and every cause of action alleged therein, be

                                                                  23   dismissed WITH PREJUDICE each side to bear its own attorney fees and costs.

                                                                  24   ///

                                                                  25   ///

                                                                  26   ///

                                                                  27   ///

                                                                  28   ///

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                                                                                                           33 Filed 11/30/21
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                                                                   1          IT IS HEREBY FURTHER STIPULATED AND AGREED that the Calendar Call set for

                                                                   2   March 9, 2022, and the Trial date of March 14, 2022 be vacated.

                                                                   3   DATED this 23rd day of November 2021.              DATED this 23rd day of November 2021.

                                                                   4   HICKS & BRASIER, PLLC                              TYSON & MENDES LLP

                                                                   5

                                                                   6   /s/ Justin Wilson                                  /s/ Christopher A. Lund
                                                                       JUSTIN W. WILSON, ESQ.                             THOMAS E. MCGRATH
                                                                   7   Nevada Bar No. 14646                               Nevada Bar No. 7086
                                                                       HICKS & BRASIER, PLLC                              CHRISTOPHER A. LUND
                                                                   8   2630 South Jones Boulevard                         Nevada Bar No. 12435
                                                                       Las Vegas, Nevada 89146                            3960 Howard Hughes Parkway, Suite 600
                                                                   9   Attorneys for Plaintiff                            Las Vegas, Nevada 89169
                                                                       Edward Keller, Jr.                                 Attorneys for Defendants
                                                                  10                                                      Royce Plowman and Madison Smith

                                                                  11
                                                                                                                   ORDER
3960 Howard Hughes Parkway, Suite 600




                                                                  12
                                                                              Based upon the Stipulation of the parties, the Court having reviewed all pleadings and
                                        Las Vegas, Nevada 89169




                                                                  13
                                                                       papers on file herein, and good cause appearing.
                                                                  14
                                                                              IT IS HEREBY ORDERED that this case in its entirety, is dismissed WITH PREJUDICE
                                                                  15
                                                                       each party to bear its own attorney’s fees and costs herein.
                                                                  16
                                                                              IT IS HEREBY FURTHER ORDERED the Calendar call set for March 9, 2022, and the
                                                                  17
                                                                       Trial date of March 14, 2022 are hereby VACATED.
                                                                  18
                                                                              DATED this ___ day30,
                                                                                     November    of 2021.
                                                                                                    ___________, 2021.
                                                                  19

                                                                  20
                                                                                                             UNITED STATES
                                                                                                             UNITED STATES DISTRICT
                                                                                                                           MAGISTRATE  JUDGE
                                                                                                                                    JUDGE
                                                                  21
                                                                       Submitted by:
                                                                  22   TYSON & MENDES LLP
                                                                  23
                                                                       /s/ Christopher A. Lund
                                                                  24   THOMAS E. MCGRATH
                                                                       Nevada Bar No. 7086
                                                                  25   CHRISTOPHER A. LUND
                                                                       Nevada Bar No. 12435
                                                                  26   3960 Howard Hughes Parkway, Suite 600
                                                                       Las Vegas, Nevada 89169
                                                                  27   Attorneys for Defendants
                                                                       Royce Plowman and Madison Smith
                                                                  28

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From: Justin Wilson <jwilson@lvattorneys.com>
Sent: Tuesday, November 23, 2021 10:20 AM
To: Chris Lund <CLund@TysonMendes.com>; Alisha Ricketts <alisha@lvattorneys.com>; Tom
McGrath <TMcGrath@TysonMendes.com>; Christina Espinosa <CEspinosa@TysonMendes.com>
Subject: RE: Keller v. Plowman proposed release agreement

Approved.


From: Chris Lund <CLund@TysonMendes.com>
Sent: Tuesday, November 23, 2021 9:17 AM
To: Alisha Ricketts <alisha@lvattorneys.com>; Tom McGrath <TMcGrath@TysonMendes.com>;
Christina Espinosa <CEspinosa@TysonMendes.com>
Cc: Justin Wilson <jwilson@lvattorneys.com>
Subject: RE: Keller v. Plowman proposed release agreement

Good morning,

I have attached a proposed SAO to Dismiss the case. Let me know if you would like any changes. If
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                                           33 Filed 11/30/21
                                                    11/24/21 Page 4 of 4


not, please let me know if I may add your e-signature.

Thank you.



                                            Christopher A. Lund
                                            Senior Counsel
                                            170 South Green Valley Parkway, Suite 300
                                            Las Vegas, NV 89012
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so we may arrange for the retrieval of the information.


From: Alisha Ricketts <alisha@lvattorneys.com>
Sent: Tuesday, November 9, 2021 5:53 PM
To: Chris Lund <CLund@TysonMendes.com>; Tom McGrath <TMcGrath@TysonMendes.com>;
Christina Espinosa <CEspinosa@TysonMendes.com>
Cc: Justin Wilson <jwilson@lvattorneys.com>
Subject: RE: Keller v. Plowman proposed release agreement

Good evening Mr. Lund,

Regarding the above matter, our office is in receipt of the settlement check. Please find the attached
executed settlement release. I will mail the original to your office. Will you also forward the Stip and
Order for Dismissal so Mr. Wilson can review for use of his e-signature?

Thank you,

Alisha Ricketts
Paralegal




2630 S. Jones Blvd. |​ Las Vegas, NV 89146
direct (725) 201-9067
tel (702) 628-9888 | fax (702) 960-4118


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